Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 1 of 16 PageID #:2504
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 2 of 16 PageID #:2505
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 3 of 16 PageID #:2506
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 4 of 16 PageID #:2507
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 5 of 16 PageID #:2508
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 6 of 16 PageID #:2509
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 7 of 16 PageID #:2510
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 8 of 16 PageID #:2511
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 9 of 16 PageID #:2512
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 10 of 16 PageID #:2513
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 11 of 16 PageID #:2514
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 12 of 16 PageID #:2515
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 13 of 16 PageID #:2516
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 14 of 16 PageID #:2517
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 15 of 16 PageID #:2518
Case: 1:08-cr-00746 Document #: 747 Filed: 02/04/11 Page 16 of 16 PageID #:2519
